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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



BRITTANY BANCROFT                                                           CIVIL ACTION
VERSUS                                                                      NO. 21-545

217 BOURBON, LLC, ET AL.                                                    SECTION M (1)


                          SCHEDULING CONFERENCE NOTICE

       The telephone scheduling conference previously set for September 1, 2021 at 9:30 a.m., is

hereby RESET to be held on Thursday, September 23, 2021 at 9:30 a.m. The Court will be

represented by its case manager. All parties are to call into the conference call at (877) 873-8018,

Access Code: 2994682




                                                             /s/ Cherie Charles
                                                             Case Manager, Section M
                                                             (504) 589-7703
